 1
                                     UNITED STATES DISTRICT COURT
 2
                                  NORTHERN DISTRICT OF CALIFORNIA
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 4   JENNIFER PARDO AND EVANGELINE                       CASE NO. 3:21-cv-06326-RS
     MATTHEWS, individually, and on behalf of all
 5   others similarly situated,                          [PROPOSED] ORDER DENYING
                                                         PLAINTIFFS’ MOTION FOR CLASS
 6                  Plaintiffs,                          CERTIFICATION

 7   v.                                                  Hearing Information:
                                                         Hearing Date: January 9, 2025
 8   PAPA, INC.                                          Hearing Time: 1:30 pm
                                                         Hon. Richard Seeborg
 9                  Defendant.
                                                         Action Filed: August 17, 2021
10                                                       Trial Date: None Set

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            The Court, having held hearing on Plaintiff Jennifer Pardo and Plaintiff Evangeline Matthews’
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     (collectively, “Plaintiffs”) Motion for Class Certification on January 9, 2025, at 1:30 p.m., and having
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     considered Plaintiffs’ Motion and the documents and evidence filed in support therewith, as well as
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     Defendant Papa, Inc.’s (“Defendant”) Opposition, and the arguments made during oral argument, does
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     hereby find and ORDER as follows:
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            1. Plaintiffs’ Motion to Certify a Class consisting of “[a]ll individuals who performed work for
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     Defendant in the state of California who were classified as independent contractors from four years prior
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     to the filing of this action, from August 18, 2018, to the date of trial” is DENIED;
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            2. Plaintiffs’ request to appoint Plaintiff Jennifer Pardo and Plaintiff Evangeline Matthews as Class
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     Representatives for the Class is DENIED; and
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            3. Plaintiffs’ request to appoint Lebe Law, APLC and attorneys Jonathan M. Lebe and Zachary T.
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     Gershman as Class Counsel is DENIED.
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24          IT IS SO ORDERED.

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26          Dated:______________               By: _______________________________
                                                   HON. RICHARD SEEBORG
27                                                 United States District Judge
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